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AO 245B (Rev. 10/19) Judgment in a Criminal Case TEB/ct (8417843)
Sheet |

UNITED STATES DISTRICT COURT
Western District Of New York

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
Waleed Abughanem Case Number: — 1:23CR00046-002
USM Number: 44226-510
) Frank M. Bogulski — oe
Defendant’s Attorney
THE DEFENDANT:
pleaded guilty tocount(s) ee lofthe Superseding Information
L] pleaded nolo contendere to count(s) oe OS
which was accepted by the court.
C1 was found guilty on count(s) a - -
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 4 Misprision of Felony 02/14/2023 1
The defendant is sentenced as provided in pages 2 through = 7 _ ofthis judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

O The defendant has been found not guilty on count(s)

~ The underlying Superseding Indictment as it

at sexta to this defendant is O are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

May 15, 2025

Date of Imposition of ydement : / a

FIED <7 SiphawiC Jude a
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o>
MAY 1 9 2025
% ae Honorable John L. Sinatra, Jr. U.S. District Judge _ ee
Wyeste meets a Ww Name and Title of Judge
STERN DISTRICLO Fi ae _
S (4 = go 25

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AO 245B (Rev. 10/19) Judgment in Criminal Case TEB/ct (8417843)
Sheet 2 — Imprisonment
Judgment — Page 2 of 7
DEFENDANT: Waleed Abughanem
CASE NUMBER: 1:23CR00046-002
IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
36 months
The cost of incarceration fee is waived.
[1 The court makes the following recommendations to the Bureau of Prisons:
The defendant is remanded to the custody of the United States Marshal.
(1) The defendant shall surrender to the United States Marshal for this district:
CL] at Oam (C) pm. on
CL] as notified by the United States Marshal.
C1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

CL] before 2 p.m. on

C] asnotified by the United States Marshal.

1 as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to

, with a certified copy of this judgment.

UNITED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 10/19) Judgment in a Criminal Case TEB/ct (8417843)
Sheet 3 — Supervised Release
Judgment—Page 3 of 7

DEFENDANT: Waleed Abughanem

CASE NUMBER: 1:23CR00046-002

SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: One (1) year
MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that
gt P
you pose a low risk of future substance abuse. (check if applicable)

4. (J You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

Ll] Xl

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. (J You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 10/19) Judgment in a Criminal Case TEB/ct (8417843)
Sheet 3A — Supervised Release

Judgment—Page 4 of 7

DEFENDANT: Waleed Abughanem
CASE NUMBER: 1:23CR00046-002

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe court determines in consultation with your probation officer that, based on your criminal record, personal history and
characteristics, and the nature and circumstances of your offense, you pose a risk of committing further crimes against another person
(including an organization), the probation officer may require you to notify the person about the risk and you must comply with that
instruction. The probation officer may contact the person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

Upon a finding of a violation of probation or supervised release, I understand that this court may (1) revoke supervision, (2) extend the terms
of supervision, and/or (3) modify the conditions of probation or supervised release. A U.S. probation officer has instructed me on the
conditions specified by the court and has provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release Conditions, available at: www.uscourts.gov.

Defendant’s Signature Date

U.S. Probation Officer’s Signature Date

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AO 245B (Rev. 10/19) Judgment in a Criminal Case TEB/ct (8417843)
Sheet 3B — Supervised Release

Judgment—Page 5 of 7

DEFENDANT: Waleed Abughanem
CASE NUMBER: 1:23CR00046-002

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall submit to a search of his person, property, vehicle, place of residence or any other property under his control, based
upon reasonable suspicion, and permit confiscation of any evidence or contraband discovered.

Based on the defendant’s immigration status, the defendant is to be delivered to a duly authorized Immigration official for deportation
proceedings pursuant to 18 U.S.C. §3583(d). Ifhe is ordered removed, the defendant shall not re-enter or attempt to re-enter the United
States without the written authorization of the Secretary of Homeland Security. In that scenario, re-entry into the United States without
approval of the Secretary of Homeland Security constitutes new criminal conduct which may subject the defendant to criminal
prosecution. Again, in that scenario, re-entry without approval during the term of supervision will be considered a violation of the
conditions of supervised release. If the defendant is deported, the term of supervised release shall be unsupervised.
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AO 245B (Rev. 10/19) Judgment in a Criminal Case TEB/ct (8417843)
Sheet 4 — Criminal Monetary Penalties
Judgment—Page 6 of 7
DEFENDANT: Waleed Abughanem
CASE NUMBER: 1:23CR00046-002

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment AVAA Assessment* IVTA ee Fine Restitution
—eeew Assessment
TOTALS $ 100 $ 0 $ 0 $0 $ 0
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.
(The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.
Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ $
[] Restitution amount ordered pursuant to plea agreement $
[] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the fifteenth
day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to penalties for
delinquency and default, pursuant to 18 U.S.C. § 3612(g).
(]_ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

(] the interest requirement is waived forthe (J fine [1 restitution.

(1 the interest requirement forthe ( fine (restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 10/19) Judgment in a Criminal Case TEB/ct (8417843)
Sheet 5 — Schedule of Payments
Judgment — Page 7 of 7
DEFENDANT: Waleed Abughanem
CASE NUMBER: 1:23CR00046-002
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A [ Lump sum payment of $ due immediately, balance due

[1 not later than , or
[Cin accordance oO Cc. OF D, (1 E,or {J F below; or

B Payment to begin immediately (may be combined with Oc, O Dior F below); or

C (| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [ Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F Special instructions regarding the payment of criminal monetary penalties:

The-defendant shall pay a special assessment of $100, which shall be due immediately. Payments shall be made to the Clerk,
USS. District Court, Attention: Finance, United States Courthouse, 2 Niagara Square, Buffalo, New York 14202 or to pay online,
visit www.nywd.uscourts.gov for instructions, unless otherwise directed by the Court, the probation officer, or the United States
Attorney.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

1 Joint and Several

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate.

[| The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

[J The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
